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                                                                    FILED
                                                       February 29, 2024
                     UNITED STATES DISTRICT COURT     CLERK, U.S. DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS      WESTERN DISTRICT OF TEXAS

                           AUSTIN DIVISION                           ps
                                                  BY: ________________________________
                                                                             DEPUTY

UNITED STATES OF AMERICA,               §    No. 1:24-CV-8-DAE
                                        §    (lead case)
                Plaintiff,              §
vs.                                     §
                                        §
STATE OF TEXAS, GREG ABBOTT, §
in his official capacity as Governor of §
Texas, TEXAS DEPARTMENT OF              §
PUBLIC SAFETY , and STEVEN C. §
MCCRAW, in his official capacity as §
Director of Texas Department of Public §
Safety,                                 §
                                        §
                Defendants.             §

LAS AMERICAS IMMIGRANT                   §   No. 1:23-CV-1537-DAE
ADVOCACY CENTER, AMERICAN                §   (consol. case)
GATEWAYS, and COUNTY OF EL               §
PASO, TEXAS,                             §
                                         §
               Plaintiffs,               §
vs.                                      §
                                         §
STEVEN C. MCCRAW, in his official §
capacity as Director of Texas            §
Department of Public Safety, and BILL §
D. HICKS, in his official capacity as    §
District Attorney for the 34th District, §
                                         §
               Defendants.               §
________________________________ §
        Case 1:24-cv-00008-DAE Document 44 Filed 02/29/24 Page 2 of 2




           ORDER GRANTING LEAVE TO FILE AMICUS BRIEFS

             IT IS ORDERED that the motions for leave to file an amicus brief by

Advocates for Victims of Illegal Alien Crime, (Dkt. 26), United States

Representatives Jodey C. Arrington, et al., (Dkt. 31), and Harris County, Texas,

(Dkt. 34), are GRANTED.

             IT IS FURTHER ORDERED that the Clerk of the Court shall file

the attached amicus briefs, (Dkts. 26-1, 31-1, and 34-1).

             DATED: Austin, Texas, February 29, 2024.




                                              David Alan Ezra
                                              Senior United States District Judge




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